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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,       )                     8:12CR358
                                )
           Plaintiff,           )
                                )                     ORDER
v.                              )
                                )
ULISES DE JESUS CAMPOS-ALMAZAN, )
                                )
           Defendant.           )



      UPON THE MOTION OF THE DEFENDANT, (#60) and no objection from the
government,

      IT IS ORDERED:

      1. The Motion to Continue (#60) is granted.

      2. The Change of Plea hearing is continued to April 16, 2013 at 2:00 p.m. before
Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

       3. For this defendant, the time between March 26, 2013 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      4. No further continuances will be granted, absent unusual circumstances.

       5. Since this is a criminal case, the defendant must be present, unless excused
by the Court.

      DATED this 26th day of March, 2013.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
